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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                              MIDLAND-ODESSA DIVISION

XIQIU (“BOB”) FU, an individual,         §
                                         §
       Plaintiff,                        §
                                         §
v.                                       §                    NO. 7:20-CV-257-DC
                                         §
GUO WENGUI (a/k/a MILES KWOK, a/k/a §
WENGUI GUO, a/k/a MILES GUO, a/k/a HO §
WAN KWOK), an individual; GTV MEDIA      §
GROUP, INC., a Delaware corporation,     §
SARACA MEDIA GROUP, INC., a Delaware §
Corporation, and VOICE OF GUO MEDIA,     §
INC., a Delaware corporation; and LIHONG §
WEI LAFRENZ (a/k/a SARA WEI) and         §
DONGA FANG, individuals,                 §
                                         §
       Defendants.                       §

  PLAINTIFF’S MOTION AND APPLICATION FOR PRELIMINARY INJUNCTION


TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       Plaintiff Bob Fu moves this Court for a preliminary injunction prohibiting Defendants, or

anyone in concert with them, from picketing Dr. Fu’s home or from approaching within one-

hundred (100) feet of Dr. Fu, his wife, or his children, and for such other relief as this court deems

just and equitable. Additionally, Plaintiff requests that this Court enjoin Defendants, or anyone

acting in concert with them, from picketing within fifty (50) feet of points of ingress and egress to

ChinaAid’s business location, and from approaching within one-hundred (100) feet of ChinaAid

employees.




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                                                     FACTS
        This matter arises out of Defendants’ persistent harassment of Dr. Fu and his family.

Plaintiff refers the Court to his Complaint and submits the following exhibits in support of this

motion for a preliminary injunction:

        EXHIBIT A:                 Bob Fu Affidavit;

        EXHIBIT B:                 Picketing Live-Stream Videos;1

                 EXHIBIT B-1:               October 7, 2020 (00:38:00-00:39:00)

                 EXHIBIT B-2:               October 21, 2020 First Portion (00:51:23-00:55:05)

                 EXHIBIT B-3:               October 21, 2020 Second Portion (00:30:00-00:33:00)

                 EXHIBIT B-4:               October 22, 2020 (00:26:00-00:30:00)

                 EXHIBIT B-5:               October 27, 2020 (00:31:00-00:35:00)

        EXHIBIT C:                 Arrest Records of Midland Picketers;

        EXHIBIT D:                 Guo Wengui Videos;2

                 EXHIBIT D-1:               The Global Traitor Elimination List

                 EXHIBIT D-2:               Global ‘Kill Cheaters’ Campaign3

                 EXHIBIT D-3:               Guo’s September 28th Threat to Send Comrades to Midland

                 EXHIBIT D-4:               Death Threats

                 EXHIBIT D-5:               Another ‘Kill Cheaters’ Campaign

        EXHIBIT E:                 Cease and Desist Letters to Defendants;

        EXHIBIT F:                 Notice to Midland Police Department – Bob Fu is a stalking victim;



1
  To be delivered by USB drive
2
  To be delivered by USB drive
3
  This video is a composite of multiple clips which were prepared by a third-party and published on Twitter. The
video first depicts Guo, and then to people wearing “Federation of New China” attire and committing violent acts.
The Federation of New China is an organization affiliated with Guo.

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         EXHIBIT G:               Midland Police Department - Bomb Threat Reports;

         EXHIBIT H:               Google Earth Screenshot of Bishops Castle Drive, Midland, Texas

         EXHIBIT I:               Jianmin Wu Request for Civil Harassment Restraining Order of Guo
                                  Operative (California);

         EXHIBIT J:               Baosheng Guo Preliminary Protective Order (Virginia);

         EXHIBIT K:               Toronto Star Article (Vancouver);

         EXHIBIT L:               Liehong Zhuang Complaint (New York) against Guo;

         EXHIBIT M:               Midland Reporter Telegram article;

         EXHIBIT N:               Message From Sara Wei Declaring Intent to Return Picketing After
                                  Presidential Election;

         EXHIBIT O:               Google Earth Screenshot of N.W. 100th Street in Clive, Iowa.

Defendant Guo Wengui (“Guo”) initiated a smear campaign that escalated from Guo making false

and defamatory statements concerning Dr. Fu, to unwelcomed picketers targeting Dr. Fu and his

home, which lasted for 27 days and seriously disrupted Dr. Fu’s and his family’s lives.4 The

number of picketers varied from day-to-day, but increased to approximately 100 individuals. 5

Defendant Guo vigorously advocates the use of violence against Dr. Fu by those Guo-solicited

recruits and sponsors. Guo has induced these unlawful acts targeting Dr. Fu with promises of

bounties for those who will eliminate/kill Dr. Fu. 6 Such is the threat by Guo and his compatriots

that Dr. Fu and his family went into hiding–a law-enforcement-advised exile from their home.7

Guo’s followers are known to execute on his and his agents’ commands against those Guo’s




4
  Exhibit A at p. 2.
5
  Id. at p. 3; Exhibit B.
6
  Exhibit A at p. 2.
7
  Id. at p. 2.

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targets.8 Although there has been a respite from Guo’s agents, they have vowed to return until Dr.

Fu is eliminated.9

         Without a preliminary injunction, Dr. Fu and his family are vulnerable to Guo’s (and his

agents’ and followers’) illegal attacks that deprive Dr. Fu and his family of a safe and tranquil

home, rendering vulnerable these good Midland citizens during the pendency of this litigation.


       I.        A PRELIMINARY INJUNCTION SHOULD ISSUE AGAINST DEFENDANTS
         To halt Defendants’ illegal conduct and to prevent continued harm to Dr. Fu, this Court

should issue a Preliminary Injunction enjoining Defendants and those in concert with them, from

future assaultive or harassing conduct; from picketing Dr. Fu’s residence or on Bishops Castle

Drive; from approaching within 100 feet of Dr. Fu, his wife, and children; and from picketing near

Dr. Fu’s work place (ChinaAid) .10 Although Plaintiff requests that the Court waive a bond

requirement, Dr. Fu is prepared to satisfy such a requirement if required by the Court to grant his

requested relief.

         a. This Court Has Authority to Grant the Relief Requested

         Section 85.003 of the Texas Civil Practice & Remedies Code authorizes Dr. Fu’s civil

cause of action for stalking. TEX. CIV. PRAC. & REM. CODE § 85.003. When a federal court decides

to issue a preliminary injunction, it must consider whether (1) movant has a strong likelihood of

success on the merits; (2) movant would sustain an irreparable injury without the order; (3)

granting the injunction would cause substantial harm to others; and (4) the public interest is



8
  See generally, Exhibit I; Exhibit J; Exhibit K; Exhibit L.
9
  Exhibit A at p. 1; see also Exhibit N.
10
   It should be noted that Plaintiff is not requesting that this Court issue a content-based injunction relating to the
picketers outside his home, rather, he requests a time, place manner injunction which does not run afoul of First
Amendment Protections.

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undermined by granting the order. Jackson Women’s Health Org. v. Currier, 760 F.3d 448, 452

(5th Cir. 2014); Roho, Inc. v. Marquis, 902 F.2d 356, 358 (5th Cir. 1990); Northeast Ohio Coalition

for Homess v. Blackwell, 467 F.3d 999, 1009 (6th Cir. 2006). Also at issue is whether the requested

relief satisfies constitutional requirements. It does. When the Texas Legislature codified Section

85.003, it declared, inter alia, that certain violations of privacy are actionable. Further, the

requested relief is narrowly tailored because it acts only to restore the privacy of the home and the

security of the workplace.

         i. Plaintiff is Likely to Succeed on His Civil Stalking Claims Given the Harassing
           Nature of the Picketers, Despite Being Asked to Stop or Provide Breathing Room.

   In order to succeed under Texas’s Civil Stalking statute, a plaintiff must show, in relevant part:

   1. on more than one occasion, defendant engaged in harassing behavior;
   2. as a result of the harassing behavior, plaintiff reasonably feared for his safety or the safety
      of his family;
   3. while engaging in harassing behavior by acts or words, a defendant threatened to inflict
      bodily injury on plaintiff or to commit an offense against plaintiff or a member of his family
      or property;
   4. defendant had the apparent ability to carry out the threat;
   5. defendant’s apparent ability caused plaintiff to reasonably fear for their safety or the safety
      of a family member;
   6. plaintiff clearly demanded that defendant stop the harassing behavior; and
   7. the harassing behavior has been reported to the police as a stalking offense.

TEX. CIV. PRAC. & REM. CODE § 85.003. The statute defines harassing behavior as “conduct by

defendant directed specifically toward the claimant, including following the claimant, that is

reasonably likely to harass, annoy, alarm, abuse, torment, or embarrass the claimant.” Id. at

85.001(4) (emphasis added). The word “including” in section 85.001(4) does not limit the set of

circumstances by which harassment occurs. Quite the contrary, “including” enlarges the definition

of harassing behavior; the descriptors following “including” do “not create a presumption that




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components not expressed are excluded.” Sneed v. Webre, 465 S.W.3d 169, 190 (Tex. 2015)

(quoting TEX. GOV’T CODE § 311.005(13)).

         Defendants engaged in harassing behavior during each of the 27 days by picketing,

protesting, and broadcasting in front of Dr. Fu’s home, while also advocating violence against Dr.

Fu.11 Moreover, as video evidence documents, Defendants seek to harass and torment Dr. Fu. .12

A month-long siege of a Dr. Fu’s home harassed, annoyed, alarmed, abused, tormented, and

embarrassed him and his family, as it would any person of normal sensibilities. Because of

Defendants’ actions, Dr. Fu reasonably fears for his and his family’s safety, especially considering

that Guo and his agents have demonstrated their propensity, when afforded the opportunity, to

wreak violence on their targets.13

          Defendants’ campaign of harassing behavior included threats to inflict harm on Dr. Fu.14

Indeed, Defendants advocate that Dr. Fu should be killed or eliminated as part of Guo’s global

elimination campaign.15 The Mandarin word that Guo used was “灭”or “mie.” This is the same


word that Mao Zedong used when issuing orders against the Chinese Nationalist government and

military. 16 This word always means to kill, destroy, or exterminate in the most literal way. The

apparent ability and oft-repeated desire to carry out these threats have caused Dr. Fu, with good

reason, to flee his home.17 With Guo’s agents posted directly in front of his home and growing in

number, Dr. Fu took prudent steps to protect himself and his family by leaving his home to escape



11
   Exhibit A at p. 2.
12
   Id.; see also generally, Exhibits D-1 – D-5.
13
   See generally Exhibit A; Exhibit I; Exhibit J; Exhibit K; Exhibit L.
14
   See generally Exhibit A; see also Exhibits D-1 – D-5.
15
   Exhibit A at p. 2; Exhibit D-4.
16
   Id.
17
   Id.; Exhibit I; Exhibit J; Exhibit K; Exhibit L.

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the threats of harm and potential imminent harm. 18 Upon the advice of law enforcement, he

remained displaced for weeks.19

         Dr. Fu urged Guo’s agents to cease their campaign of harassment so he could return to the

peace and tranquility of his home. These pleas were unavailing. 20 While Guo and his agents have

not returned to Midland since the November elections to continue the campaign of threats,

harassment, and elimination, Defendants have vowed to come back and stay until they accomplish

their unlawful goal21 of eliminating Dr. Fu, ruining his good name, and/or undermining his

important work he performs. 22

         Although Plaintiff’s evidence cannot be reasonably controverted by any Defendant, Dr. Fu

need not show that he will actually prevail against Defendants to warrant a preliminary injunction.

See Amoco Prod. Co. v. Village of Gambell, 480 U.S. 531, 546 n. 12 (1987); Coalition of

Concerned Citizens to Make Art Smart v. Federal Transit Admin. of U.S. DOT, 843 F.3d 886, 901

(10th Cir. 2016); see also Abdul Wali v. Coughlin, 754 F.2d 1015, 1025 (2d Cir. 1985). While

Defendants’ rights of expression enjoy constitutional protection, Defendants have grossly

exceeded those protections. See Tex. Civ. Prac. & Rem. Code. § 85.005.

         ii.Plaintiff Has Already Sustained and Will Continue to Sustain Irreparable Injuries as
            a Result of The Mob of People Outside His Home, Because He Has Been Forced to
            Flee For His Own and His Family’s Safety.

         Mass gatherings of hostile people, including Defendants, congregated and targeted Dr. Fu’s

home for 27 days, with vows to return and continue the highly organized, lavishly financed




18
   Exhibit A at p. 2-3.
19
   Id.
20
   Exhibit A at p. 3; Exhibit E.
21
   Exhibit A at p. 1; Exhibit N.
22
   See generally Exhibit A.

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campaign of harassment. They were unrelenting.23 To meet the irreparable harm standard, an

injury must be one which cannot be accurately measured. See Ross-Simons of Warwick, Inc. v.

Baccarat, Inc., 102 F.3d 12, 19 (1st Cir. 1996). Several circuits hold that the breach of a person’s

right to privacy constitutes irreparable injury. See Siegel v. LePore, 234 F.3d 1163, 1178 (11th Cir.

2000); see also Deerfield Med. Center v. City of Deerfield Beach, 661 F.2d 328, 338 (5th Cir.

1981) (“the right of privacy must be carefully guarded for once an infringement has occurred it

cannot be undone by monetary relief.”). Moreover, residential privacy, including protecting a

resident from being held captive within one’s home is deserving of an appropriate injunctive

remedy. Frisby v. Schultz, 487 U.S. 474, 484 (1988) (quoting Rowan v. Post Office Dept., 397

U.S. 728, 738 (1970)).

           Under the circumstances before this Court, Dr. Fu has been forced to make a choice—

either to abandon his home and thereby maintain his safety and privacy, or return to his home

where threats abound. This is a situation that no one in a free society should be forced to endure.

Dr. Fu’s request for injunctive relief protects his interests without in any manner violating the

rights of Defendants.

            iii. Granting a Preliminary Injunction Would Not Cause Substantial Harm to
                Defendants or Others Because the Requested Relief Would Permit Guo and his agents
                to Picket, While Restoring Security and Some Sense of Normalcy to Dr. Fu’s Life.

           A third factor justifying the proposed relief considers and balances the respective hardships

on the parties. See e.g. eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391 (2006). By granting

Dr. Fu’s requested relief, an appropriate balance is struck.

           It is well established that courts will not issue injunctions to combat defamation actions.

That is not the case here. Dr. Fu makes no request for a content-based injunction. Metro. Opera

23
     Id. at p. 2; see generally Exhibits B-1 – B-5.

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Ass’n, Inc. v. Local 100, Hotel Employees & Rest. Employees Int’l Union, 239 F.3d 172, 177 (2d

Cir. 2001) (citing Nebraska Press Ass’n v. Stuart, 427 U.S. 539, 559 (1976); see also Kramer v.

Thompson, 947 F.2d 666, 677 (3d Cir. 1991) (“[T]he maxim that equity will not enjoin libel has

enjoyed nearly two centuries of widespread acceptance at common law.”). Instead, Plaintiff seeks

a content-neutral, time, place, and manner injunction. While content-based injunctive relief is

subject to strict scrutiny, Dr. Fu’s requested time, place, and manner restrictions would be subject

to a lesser standard. Compare Pittsburgh Press Co. v. Pittsburgh Comm’n on Human Relations,

413 U.S. 376, 391 (1973) (content-based restrictions); with Frisby v. Schultz, 487 U.S. 474, 481

(1988) (time, place, manner restrictions). Even still, the Supreme Court has seen fit to place

content-neutral injunctions between regular time, place, manner restrictions and content-based

restrictions. It has held that these kinds of injunctions cannot burden more speech than necessary

to serve a significant government interest. Madsen v. Women’s Health Center, Inc., 512 U.S. 753,

765 (1994). Here, the content of Defendants’ speech would not be the subject of the requested

injunction. Instead, Plaintiff asks this Court to prohibit Defendants from using their rights to

accomplish an unrestrained exploitation of Plaintiff’s privacy rights. The requested preliminary

injunction will not burden Defendants any more than necessary; it is a much needed prophylactic

measure. In practical terms, Defendants must incur substantial costs to engage in the offensive

and unlawful violations of Plaintiff’s legally protected rights to privacy. Ironically, by granting

Plaintiff’s requested relief, Defendants will forgo further expenditures—rather than incur them—

if the complained of conduct is enjoined.




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        iv. The Public Interest Favors a Preliminary Injunction Because it Balances the
           Sanctity and Privacy of the Home With Any Free Speech Interests At Issue.

       Plaintiff readily concedes that enforcement of his right of privacy should not result in the

denial of Defendants’ constitutional rights. This Court is called upon to balance the rights of the

parties. The rationale for that balancing extends beyond the immediate litigation between the

parties. See e.g., eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391 (2006); Winter v. Nat.

Res. Def. Council, Inc., 555 U.S. 7, 26 (2008). No fundamental right is absolute, especially when

it is used to skirt responsibility for one’s misdeeds. See e.g., Kovacs v. Cooper, 336 U.S. 77, 85

(1949) (“even the fundamental rights of the Bill of Rights are not absolute.”).

       Case law from the Supreme Court and the circuit courts of appeals provides ample

guidance to assist this Court in properly balancing the parties’ rights. For example, in Frisby v.

Schultz, the Supreme Court upheld a city ordinance which outlawed picketers targeting a home.

487 U.S. 474, 488 (1988). Writing for the majority, Justice O’Connor stated that the State has a

venerable interest in protecting the peace, tranquility, and privacy of the home. Indeed, it is an

interest “of the highest order in a free and civilized society.” Id. at 484 (quoting Carey v. Brown,

447 U.S. 455, at 471 (1980)).

       Likewise, the Second Circuit has addressed similar circumstances when reviewing a

district court injunction. In Galella v. Onassis, 487 F.2d 986 (2d Cir. 1973), a paparazzo invaded

the lives of a former first family. Galella took pictures of John F. Kennedy Jr. jumping in the boy’s

path to snap a photograph; interrupted Caroline Kennedy playing tennis; and piloted a power boat

“uncomfortably close” to Mrs. Onassis. Id. At 992. The district court issued a temporary

restraining order, enjoining Galella from “harassing, alarming, startling, tormenting, touching

[Onassis]…or her children…and from…invading their immediate zone of privacy…” Id. And


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ultimately, the court fashioned an injunction enjoining Galella from approaching within 100 yards

of Onassis’ home, or within 50 yards of her or her children. Id. at 993.

       A permanent injunction has essentially the same requirements as a preliminary injunction,

except that a permanent injunction requires actual success on the merits as opposed to a substantial

likelihood of success. Amoco Prod. Co. v. Village of Gambell, 480 U.S. 531, 546 n. 12 (1987).

The Second Circuit completely rejected Galella’s argument that his First Amendment rights

immunized him from injunctive relief. Id. at 995-97. While the court found parts of the permanent

injunction to be overbroad, the injunction was allowed to prohibit “any act foreseeably or

reasonably calculated to place the life and safety of defendant in jeopardy; and […] any conduct

which would reasonably be foreseen to harass, alarm or frighten the defendant.” Id. at 998. This

modification was made in order to protect Galella’s “reasonable efforts to ‘cover’ defendant” and

to put him on the same playing field as other photographers. Id. Although the Galella Court

reversed the portion of the injunction that enjoined Galella from approaching within 100 yards of

Onassis’ home, that case was decided prior to Frisby. Additionally, there was a second injunction

at issue in Galella, about which the government intervened and sought relief. Id. at 992, 999. That

injunction was also expanded to enjoin Galella from entering the Kennedy children’s schools, and

from engaging in the same conduct as enumerated in the Onassis injunction. Id. at 999. Dr. Fu,

like Jacqueline Onassis, has a minor child, and Fu’s requested injunction is not only reasonable,

fair, and balanced, it seeks to enjoin conduct similar to that prohibited by injunctions already

approved by prior decisions.




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                   1. The injunction would be narrowly tailored to serve this significant
                      governmental interest, while leaving open ample alternative channels for
                      communication.

       In order for restrictions to be imposed on the time, place, or manner of speech, the

restriction must be narrowly tailored in furtherance of a significant governmental interest. Ward v.

Rock Against Racism, 491 U.S. 781, 791 (1989). Additionally, the regulation must leave open

“ample alternative channels for communication of the information.” Id. (quoting Clark v.

Community for Creative Non-Violence, 468 U.S. 288, 293 (1984)). Even a complete ban can pass

Constitutional muster if each activity within the proscription’s scope is an appropriately targeted

evil. Frisby, 487 U.S. at 485. The Court found the city ordinance in Frisby to be one of rare

complete bans which also met requisite tailoring.

       The relief requested by Dr. Fu is consistent with this body of precedent. The narrow-

tailoring requirement is satisfied if the restriction promotes the substantial governmental interest,

which would otherwise be achieved less effectively without regulation. Id. at 799. Dr. Fu’s

content-neutral injunction request meets the augmented time, place, manner test; the proposed

relief burdens no more speech than is necessary to serve a significant government interest. See

Madsen v. Women’s Health Center, Inc., 512 U.S. 753, 765 (1994) (emphasis added). Plaintiff’s

requested relief clears this hurdle as well.

       Without the reasonable restrictions on Defendants’ conduct such as those proposed herein,

the government interest (which is evidenced by the State Legislature providing the underlying

causes of action) in preserving the special status of the home would be stymied. See e.g., Frisby,

487 U.S. at 485. Defendants’ siege of Dr. Fu at his home was, and would continue to be,

unreasonable, and warrants Dr. Fu’s request for judicial intervention. Denial of an injunction

within the parameters proposed would amount to a surrender of Dr. Fu’s home privacy.

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Accordingly, Dr. Fu asks the Court to draw the line marking the contours between Defendants’

speech rights and Dr. Fu’s right of privacy so as to prevent Defendants from overrunning Dr. Fu’s

constitutionally-protected interests, as has already occurred.

       Since Frisby and Galella, courts have considered varying iterations of the same problem,

namely, balancing a homeowner’s right to privacy against another person’s right to protest – or in

other words, how appropriately to tailor these types of injunctions. For example, in McMillan, the

Fifth Circuit affirmed the trial court’s denial of a preliminary injunction, in part because of the

qualitative difference between the facts then before the court and those in Frisby. See Mississippi

Women’s Medical Clinic v. McMillan, 866 F.2d 788, 796 (5th Cir. 1989). McMillan involved an

abortion clinic requesting injunctive relief against protestors to prevent them from approaching

within 500 feet of the facility and using terms such as “kill,” “murder,” and “butcher.” See id. at

791. Not only was a portion of this requested injunction content-based, it also concerned a

commercial enterprise—a clinic—rather than a home. See generally id. at 796. In contrast, Dr. Fu

is asking this Court to prohibit a specific form of speech—picketing with the specific target (him

and his family) at his home.

       In Madsen v. Women’s Health Center, Inc., 512 U.S. 753 (1994), the Supreme Court again

considered time, place, manner restrictions. While the Court struck down the injunction prohibiting

protestors from approaching within 300 feet of the clinic, it did so in part because the record lacked

“sufficient justification” for the 300-foot ban. See id at 775. In stark contrast to the circumstances

in Madsen, this case involves a residential neighborhood and an individual’s home as the

protestors’ target. Dr. Fu and his family were driven away from their own residence. Knowingly

and intentionally, Defendants deprived Dr. Fu’s ability to live and rest at his home. In like manner,



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Defendants have interfered with the quiet possessory rights of the residents of the Polo Park

neighborhood, especially Dr. Fu’s neighbors on Bishops Castle Drive.24

         Protection of more generalized marching throughout a neighborhood is not the scenario

before this Court. See e.g., Frisby, 487 U.S., at 484. To the contrary, picketers target Dr. Fu’s home

with impunity and have been so many in number that they necessarily span over a larger area than

the facts presented in Frisby. Accordingly, an injunction of larger scope is needed to restore peace

and tranquility to the home. 25 In a related matter, the Madsen Court addressed this situation in a

commercial context by upholding a portion of an injunction prohibiting picketing within 36 feet

of the clinic’s driveway. Madsen, 512 U.S., at 769-70. While the Court did not explicitly state it,

a 36-foot zone in all directions tends to imply that preventing a targeted protest in front of a home

is not strictly limited to exactly in front of that person’s home─provided the circumstances warrant

it. The Madsen Court reasoned that unfettered ingress and egress provided a sufficient

circumstance for the 36-foot injunction. Id. at 769. Here, the proposed injunction seeks the very

same rights of ingress and egress to and from Dr. Fu’s home, preserving Dr. Fu’s right to use his

driveway in the rear of the home, accessible only by way of an alley. 26 Dr. Fu and his family not

only use their driveway to park their vehicles, the Fu’s also need ingress and egress at the front of

their home to welcome visitors.27 To allow ingress and egress from the family’s driveway requires

unfettered access to the alleyway, which begins at each end of the block. Madsen also supports an

injunction for ChinaAid property as well as it relates to points of ingress and egress. The reason




24
   See generally Exhibit A at p. 2; Exhibit C; Exhibit M.
25
   Exhibit A at p. 2; see generally, Exhibit B-4.
26
   Exhibit A at p. 4; Exhibit H.
27
   Exhibit A at p. 4.

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why plaintiff requests an injunction of 50 feet (rather than the 36-foot injunction in Madsen) is

because ChinaAid’s property is located on Big Spring Drive, a major Midland thoroughfare.

           The caselaw in this arena has been helpfully elaborated by the Eighth Circuit Court of

Appeals. While not binding on this court, that circuit’s developing body of jurisprudence is

instructive. In Kirkeby v. Furness, the court was faced with a Fargo, North Dakota residential

picketing ordinance. Kirkeby v. Furness, 92 F.3d 655, 658 (8th Cir. 1996). This ordinance,

however, was content-based. It banned picketing “for the purpose of persuading the public or an

occupant of such premises or to protest some action, attitude, or belief.” Id. at 659. Since Dr. Fu

is not asking for a content-based injunction, Kirkeby is inapposite. Later, in Douglas, the Eighth

Circuit upheld another picketing ordinance. The court reasoned that Frisby does not create a bright-

line rule permitting limits only on picketing solely in front of the targeted residence. Douglas v.

Brownell, 88 F.3d 1511, 1519 (8th Cir. 1996). Douglas is one of the first cases concerning

restrictions about adjacent homes of a targeted residence. The court recognized that the protestors

in Frisby congregated only in front of the physician’s home, whereas in the facts of Douglas, the

protestors spilled over in front of neighboring homes. Id. at 1514, 1520 (the protestors in Douglas

spanned, at one point, from 1500-1700 block of N.W. 100th Street). The distance between the

1500 and 1700 blocks is slightly more than 1000 feet, which is substantially similar to Plaintiff’s

requested relief. 28 Because the picketing in Douglas was more expansive, the court cogently

reasoned that the prohibition could also be more expansive. Id. The Defendants and other picketers

in this case were numerous just as in Douglas, thus permitting an injunction which is larger in

scope.29


28
     Compare Exhibit H; with Exhibit O.
29
     Exhibit A at p. 3; see generally, Exhibit B-4.

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           On balance, the proposed preliminary injunction is supported by both the law and the facts

inasmuch as the relief sought goes no further than needed to redress the harms Dr. Fu has suffered

and likely will suffer. The proposed injunction also permits Dr. Fu to access his property free of

interference from Defendants and their picketers. Defendants’ threats, their repetitious gathering

at Dr. Fu’s residence for nearly a month, and their constant, offensive and intruding presence have

gone far beyond the reasonable bounds of protesting.30

           Dr. Fu’s right to privacy and protection are weighty considerations and outweigh the

picketers’ sweeping claim to an unqualified right to harass. See Galella, 487 F.2d 986, 995 (2d

Cir. 1973). It is clear that the rationale in Frisby supports an injunction on the facts before the

court. Indeed, the holding in Frisby would be hollow if a court could not issue an injunction

premised on these facts. Nor would the requested injunction run afoul of Defendants’ First

Amendment rights. Frisby, 487 U.S., at 475. To the contrary, the requested injunction would

burden no more speech than necessary in order to restore Dr. Fu’s rights of privacy and tranquility

in his and his family’s home. Madsen, 512 U.S. at 765.

           To be sure, the picketing in this case is “in the wrong place─like a pig in the parlor instead

of the barnyard.” F.C.C. v. Pacifica Foundation, 438 U.S. 726, 750 (1978) (quoting Euclid v.

Ambler Realty Co., 272 U.S. 365, 388 (1926)). It can no longer remain unchallenged. For the sake

of balance of rights, personal privacy, and security, Bob Fu respectfully requests that the proposed

injunctive relief be granted.




30
     Exhibit A at p. 2-3; see generally Exhibits B-1 – B-5.

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                                        II.      CONCLUSION AND PRAYER
           Put simply, Guo has a textbook modus operandi. He employs his celebrity status,

seemingly limitless funds, and his vast array of media platforms to recruit, train, and deploy his

myriad agents, including the other Defendants, to engage in “campaigns” involving unlawful and

harassing conduct, including stalking. Pastor Fu is one of the latest victims of such wrongful

conduct and a veritable multitude of defamatory statements published by Defendants.

           As evidenced herein, when these Guo mobs assemble and are left unchecked, they commit

violent acts against Guo’s targets and those who associate with those targets.31 There is no reason

for this Court to assume that this situation, if left unchecked, will have a different outcome than

violence and other harms to Dr. Fu and those around him. 32

           In our Constitutional democracy, First Amendment rights are indeed sacrosanct. But they

cannot appropriatedly be employed as a shield by those seeking to incite and carry out violent acts.

In the latter circumstances, constitutional protections fall away and the defendants’ threats of

violence become the appropriate subject of judicial redress. Simply stated, the First Amendment

does not pronounce a healing benediction on threats of personal violence.

           For the foregoing reasons, Bob Fu respectfully requests that, after proper service of

Plaintiff’s motions and applications for preliminary injunctions, and following a properly noticed

hearing, the Court preliminarily enjoin Defendants, their representatives, agents, servants,

employees, attorneys, and those persons in active concert or participation with them, from directly

or indirectly:




31
     See Exhibit I; Exhibit J; Exhibit K; Exhibit L.
32
     See Exhibit I; Exhibit J; Exhibit K; Exhibit L.

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           1) Picketing outside Dr. Bob Fu’s home or anywhere else on Bishops Castle Drive in

               Midland, Texas. Picketing is defined as “posting at a particular place.” Frisby, 487

               U.S. at 482.

           2) Approaching within one-hundred (100) feet of Dr. Bob Fu, his wife, and his

               children;

           3) Picketing within fifty (50) feet of any point of ingress and egress at the ChinaAid

               office property; and

           4) Granting any further relief that this Court deems just and proper.

                                             Respectfully submitted,


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                                  CERTIFICATE OF SERVICE

        I certify that, on December 31, 2020, I filed the foregoing Plaintiff’s Motion for
Preliminary Injunction via the Court’s ECF/CM system. I further certify that Exhibits B and D in
their entirety will be hand delivered to the Court via a USB drive. I further certify that I stand ready
to serve all Defendants and or their counsel of record once each has made an appearance, including
individual USB drives containing Exhibits B and D in their entirety.

                                                   /s/ Terry W. Rhoads
                                                   Terry W. Rhoads




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